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                         MINUTES OF THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA

                                                  VS
                  USA                                                       Patricia Gaudron
Case Number:     22-cr-2041-CAB                 EXHIBIT LIST                        Jury Trial


☒    Plaintiff    ☐      Defendant      ☐       Court

    No.          Date I.D.        Date Rec’vd                              Description
    1            11/28/2022       11/28/2022                     Map View of Southern California
    2            11/28/2022       11/28/2022                      Map View of Otay Lakes Road


    4            11/28/2022       11/28/2022                        Photograph(s) - Mitsubishi


    6            11/28/2022       11/28/2022                         Photograph(s) – Hyundai
    7            11/28/2022       11/28/2022             Photograph(s) – interior rear seat of Hyundai


    9            11/28/2022       11/28/2022                   Vehicle Registration of 2013 Hyundai
    10           11/28/2022       11/28/2022                        Vehicle Rental Agreement
    11           11/28/2022       11/28/2022      State of Nevada Vehicle Title - 2019 Mitsubishi Outlander




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